           Case 3:17-cr-00592-WHA Document 50 Filed 11/13/18 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT of CALIFORNIA

                                  CRIMINAL MINUTES

Judge:              William Alsup                         Time in Court:      22 minutes
Date:               November 13, 2018
Case No.            17‐cr‐00592‐WHA‐2

United States of America                v.         Shannon Doyle

                                               Defendant
                                              Present
                                              Not Present
                                              In Custody

U.S. Attorney                                             Defense Counsel
Benjamin Kingsley                                         Gail Shifman
Matthew McCarthy


Deputy Clerk: Tracy Geiger                                Reporter: Ana Dub



                                        PROCEEDINGS

REASON FOR HEARING:           Change of Plea
RESULT OF HEARING:            Defendant pled guilty to Count One of the Indictment.
                              Court accepted plea and referred defendant to U.S. Probation for
                              preparation of a presentence report.
                              Plea agreement filed with the court.


CONTINUED TO: March 12, 2019 at 2:00 pm for Sentencing




                                               1
 
